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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION




 MR TECHNOLOGIES, GMBH                     Civil Action No. 8:22-cv-01599
                                           Judge: Hon. James V. Selna
             Plaintiff,

       v.                                  HIGHLY CONFIDENTIAL –
                                           ATTORNEYS’ EYES ONLY
 WESTERN DIGITAL TECHNOLOGIES,
 INC.,

             Defendants.



           DECLARATION OF JIM W. BERGMAN IN SUPPORT OF
    MR TECHNOLOGIES, GMBH’s MOTION FOR PRE-JUDGMENT INTEREST
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                                                 ID #:30896



              I, Jim W. Bergman, hereby declare, under penalty of perjury:

 I.       BACKGROUND

              1.      I have been retained by counsel for MR Technologies GMBH (“MR

      Technologies”) to serve as an expert in MR Technologies, GMBH v. Western Digital Technologies,

      Inc. (“Western Digital”) (Case No. 8:22-cv-01599, Central District of California Southern

      Division). If requested, I will testify at a hearing regarding the matters set forth in this declaration.

              2.      In this matter, I have previously submitted an opening expert report on February

      13, 2024. I also testified at trial in July 2024 regarding MR Technologies damages in this matter,

      where the jury returned a verdict of $262,388,800 for Western Digital’s infringement of the

      asserted patents.

              3.      My qualifications and experience as an expert in this matter are reflected my expert

      reports and trial testimony.

              4.      Counsel for MR Technologies asked me to (1) calculate the appropriate amount of

      prejudgment interest that Western Digital would pay based on the damages awarded by the jury,

      and (2) calculate a daily prejudgment interest amount.

II.       PREJUDGMENT INTEREST CALCULATIONS

              5.      I have calculated prejudgment interest based on the California statutory interest

   rate of 7% under the simple interest methodology.

              6.      As shown in Appendix 1, based on an interest start date of March 27, 2028 and

      applying a 7% simple interest rate to the lump sum amount of $262,388,800, prejudgment interest

   to August 2, 2024 totals $116,665,300, for a total award of $379,054,100.

              7.      Further, I have calculated a daily 2024 prejudgment interest rate to account for any

   change in the anticipated judgment date from August 2, 2024. Using the 7% California statutory

   rate and the jury’s damages award, the daily interest rate for 2024 is $50,184.
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       8.      The details of my calculations are set forth in Appendix 1 attached hereto.




       I declare under penalty of perjury pursuant to the laws of the State of California that the

foregoing is true and correct.

       Executed this 1st day of August 2024, at Costa Mesa, CA.



                                                    By: ________________________________

                                                    Jim W. Bergman
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                                          Appendix 1
                  MR Technologies, GMBH v. Western Digital Technologies, Inc.
                  Prejudgment Interest Calculation at California Statutory Rate


       Jury Verdict        $262,388,800



        Interest Start       Interest                                         Interest Earned   Cumulative
            Date          Payment Date      Annual Rate         Royalty          in Period       Interest

 [A]         3/27/2018        12/31/2018       7.00%          $262,388,800       $14,089,919     $14,089,919
              1/1/2019        12/31/2019       7.00%                              18,367,216      32,457,135
              1/1/2020        12/31/2020       7.00%                              18,367,216      50,824,351
              1/1/2021        12/31/2021       7.00%                              18,367,216      69,191,567
              1/1/2022        12/31/2022       7.00%                              18,367,216      87,558,783
              1/1/2023        12/31/2023       7.00%                              18,367,216     105,925,999
              1/1/2024          8/2/2024       7.00%                              10,739,301     116,665,300
                 Totals                                       $262,388,800      $116,665,300



     Total prejudgment interest                               $116,665,300
     Total due with prejudgment interest                      $379,054,100
 [B] 2024 Interest Per Day                                         $50,184



NOTES:
 [A] Interest start date of March 27, 2018 based on hypothetical negotiation date.
     Simple interest accrues at California statutory interest rate of 7%.
     Judgment date August 2, 2025.
 [B] Interest earned per day in 2024 (Royalty x 7% / 366 days)
